     Case 3:20-cv-00078-RCJ-WGC Document 14 Filed 10/16/20 Page 1 of 3



1                                UNITED STATES DISTRICT COURT
2                                        DISTRICT OF NEVADA
3
      CLIFFORD GRAHAM,                                       Case No. 3:20-cv-00078-RCJ-WGC
4
                                            Plaintiff,                   ORDER
5            v.
6     PHILIP S. SCHLAGER, et al.,
7                                      Defendants.
8
            This action began with a pro se civil rights complaint filed pursuant to 42 U.S.C. §
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     1983 by a state prisoner. Plaintiff has submitted an application to proceed in forma
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     pauperis. (ECF No. 1). Based on the financial information provided, the Court finds that
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     Plaintiff is unable to prepay the full filing fee in this matter.
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            The Court entered a screening order on July 8, 2020. (ECF No. 8). The screening
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     order imposed a 90-day stay and the Court entered a subsequent order in which the
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     parties were assigned to mediation by a court-appointed mediator. (ECF Nos. 8, 11).
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     The Office of the Attorney General has filed a status report indicating that settlement has
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     not been reached and informing the Court of its intent to proceed with this action. (ECF
17
     No. 13).
18
            For the foregoing reasons, IT IS ORDERED that:
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            1.      Plaintiff’s application to proceed in forma pauperis (ECF No. 1) is
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     GRANTED. Plaintiff shall not be required to pay an initial installment of the filing fee. In
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     the event that this action is dismissed, the full filing fee must still be paid pursuant to 28
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     U.S.C. § 1915(b)(2).
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            2.      The movant herein is permitted to maintain this action to conclusion without
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     the necessity of prepayment of any additional fees or costs or the giving of security
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     therefor. This order granting leave to proceed in forma pauperis shall not extend to the
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     issuance and/or service of subpoenas at government expense.
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     Case 3:20-cv-00078-RCJ-WGC Document 14 Filed 10/16/20 Page 2 of 3



1           3.     Pursuant to 28 U.S.C. § 1915(b)(2), the Nevada Department of Corrections

2    shall pay to the Clerk of the United States District Court, District of Nevada, 20% of the

3    preceding month’s deposits to Plaintiff’s account (Clifford Graham, #45000), in the

4    months that the account exceeds $10.00, until the full $350.00 filing fee has been paid

5    for this action. The Clerk of the Court shall SEND a copy of this order to the Finance

6    Division of the Clerk’s Office. The Clerk of the Court shall also SEND a copy of this order

7    to the attention of the Chief of Inmate Services for the Nevada Department of Corrections,

8    P.O. Box 7011, Carson City, NV 89702.

9           4.     The Clerk of the Court shall electronically SERVE a copy of this order and

10   a copy of Plaintiff’s complaint (ECF No. 9) on the Office of the Attorney General of the

11   State of Nevada by adding the Attorney General of the State of Nevada to the docket

12   sheet. This does not indicate acceptance of service.

13          5.     Service must be perfected within ninety (90) days from the date of this order

14   pursuant to Fed. R. Civ. P. 4(m).

15          6.     Subject to the findings of the screening order (ECF No. 8), within twenty-

16   one (21) days of the date of entry of this order, the Attorney General’s Office shall file a

17   notice advising the Court and Plaintiff of: (a) the names of the defendants for whom it

18   accepts service; (b) the names of the defendants for whom it does not accept service,

19   and (c) the names of the defendants for whom it is filing the last-known-address

20   information under seal. As to any of the named defendants for whom the Attorney

21   General’s Office cannot accept service, the Office shall file, under seal, but shall not serve

22   the inmate Plaintiff the last known address(es) of those defendant(s) for whom it has such

23   information. If the last known address of the defendant(s) is a post office box, the Attorney

24   General's Office shall attempt to obtain and provide the last known physical address(es).

25          7.     If service cannot be accepted for any of the named defendant(s), Plaintiff

26   shall file a motion identifying the unserved defendant(s), requesting issuance of a

27   summons, and specifying a full name and address for the defendant(s).                For the

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     Case 3:20-cv-00078-RCJ-WGC Document 14 Filed 10/16/20 Page 3 of 3



1    defendant(s) as to which the Attorney General has not provided last-known-address

2    information, Plaintiff shall provide the full name and address for the defendant(s).

3           8.     If the Attorney General accepts service of process for any named

4    defendant(s), such defendant(s) shall file and serve an answer or other response to the

5    complaint (ECF No. 9) within sixty (60) days from the date of this order.

6           9.     Plaintiff shall serve upon defendant(s) or, if an appearance has been

7    entered by counsel, upon their attorney(s), a copy of every pleading, motion or other

8    document submitted for consideration by the Court.        If Plaintiff electronically files a

9    document with the Court’s electronic-filing system, no certificate of service is required.

10   Fed. R. Civ. P. 5(d)(1)(B); Nev. Loc. R. IC 4-1(b); Nev. Loc. R. 5-1. However, if Plaintiff

11   mails the document to the Court, Plaintiff shall include with the original document

12   submitted for filing a certificate stating the date that a true and correct copy of the

13   document was mailed to the defendants or counsel for the defendants. If counsel has

14   entered a notice of appearance, Plaintiff shall direct service to the individual attorney

15   named in the notice of appearance, at the physical or electronic address stated therein.

16   The Court may disregard any document received by a district judge or magistrate judge

17   which has not been filed with the Clerk, and any document received by a district judge,

18   magistrate judge, or the Clerk which fails to include a certificate showing proper service

19   when required.

20          10.    This case is no longer stayed.

21
                       16th day of October 2020.
            DATED THIS ___
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23
                                               UNITED STATES MAGISTRATE JUDGE
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